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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                 :       CHAPTER 11
                                                       :
SCUNGIO BORST & ASSOCIATES, LLC.                       :
                                                       :       BANKR. NO. 22-10609 (AMC)
                                                       :
                        Debtor.                        :


                ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

       PLEASE TAKE NOTICE that pursuant to Federal Bankruptcy Rules 2002 and 9010, the

undersigned hereby appears in the above captioned matter on behalf of the United States trustee

for Region 3, and demands that all notices, motions, etc., given or required to be given in this

case, and that all papers, etc., served in this case, be given to and served upon the following:

                               George M. Conway, Trial Attorney
                               Office of the United States trustee
                                 200 Chestnut Street, Suite 502
                                  Philadelphia, PA 19106-2912
                             E-Mail: George.M.Conway@usdoj.gov
                                       Tel: (215) 597-4411
                                      Fax: (215) 923-1293

       DATED this 11th day of March, 2022.


                                                      ANDREW R. VARA
                                                      United States trustee
                                                      for Regions 3 and 9


                                              By:     /s/ George M. Conway __________
                                                      George M. Conway, Trial Attorney
                                                      Office of the United States Trustee
                                                      200 Chestnut Street, Suite 502
                                                      Philadelphia, PA 19106-2912
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